* Motion for rehearing denied, with $25 costs, on December 23, 1947. *Page 248 
[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 249 
Eva Callahan died in June, 1945, at the age of eighty-seven years as a result of an illness with which she was stricken on the preceding January 21st.  Her husband, Dr. John L. Callahan, Sr., died on January 5, 1945, at the age of eighty-four. The Callahans were the parents of two children then living, John, Jr., and Albert.
In July, 1932, Eva Callahan and her husband executed wills almost identical in their provisions.  In December, 1936, September, 1938, February, 1940, and August, 1944, further wills were drawn by each clearly evidencing common design and collaboration in their preparation.  On the night of January 1, 1945, Quincy H. Hale, an attorney in the city of La Crosse who had drawn the various wills for the Callahans, visited them in the company of his wife.  At the conclusion of the visit, Dr. Callahan accompanied the Hales to the door and informed them that he and his wife had destroyed their 1944 wills for the purpose of reinstating their 1940 wills, and had done so because Albert had begun drinking heavily again and *Page 250 
they desired to put him back in the position he occupied under their 1940 wills.  Albert had been addicted to the excessive use of intoxicating liquor and had received less than equal treatment with John in the 1940 wills.  In the 1944 wills his position was improved because he had at that time given up drinking.  At the time of Dr. Callahan's statement Mrs. Callahan was in the room but said nothing.
The next day, January 2d, Mr. Hale determined that the destruction of the 1944 wills did not reinstate the 1940 wills. He drew a new will for Dr. Callahan almost identical with his 1940 will and took it to him for execution.  He then informed the doctor and Mrs. Callahan that their 1940 wills had not been revived by destruction of the later wills.  He had not been requested to draw the new will by Dr. Callahan either on the preceding night or on the day following, but did so purely of his own volition.  He stated that he acted in haste because he was convinced that the doctor would not live long.  He did not prepare a similar will for Mrs. Callahan because she was in good health and he was not concerned about her.  Dr. Callahan executed the will on January 2d and died three days later.
Mrs. Callahan was stricken on January 21st.  She was taken to the hospital immediately and died the following June. While she was at the hospital two additional wills were drawn. The first was prepared at the instance of John Callahan, Jr., and was executed on January 29th.  The second was prepared by Mr. Hale in the form of a codicil to the 1940 will and was executed March 6th.  It made some further disposition of property not provided for by the 1940 will and specifically reinstated the 1940 will.  Mr. Hale testified that Mrs. Callahan was incompetent after she entered the hospital on January 21st. He drew the will only in response to various inquires she made with respect to provision for a niece and in order that he might advise her provision had been made for the niece.  She was not, in Mr. Hale's judgment, competent to execute a will at the time she executed the codicil, or at any other time after she had entered the hospital. *Page 251 
Upon the death of Mrs. Callahan her January 29th will was offered for probate upon the petition of John Callahan.  At the hearing on the petition July 24, 1945, the two nurses who had witnessed the will informed the court that they could not testify that the deceased was competent at the time they witnessed her execution of the will.  The court thereupon entered an order dismissing the petition.
In September, 1945, the will of 1940, the will of 1944, and the codicil of March, 1945, were offered for probate in the alternative. The petition for probate was made by Mr. Hale who had retained a copy of the destroyed 1944 will.  John and Albert objected to the probate.  The petition was heard on January 15, 1946, and on August 2, 1946, a decree was entered admitting the 1944 will to probate, from which John and Albert appeal.
On August 27th Fredric W. Crosby, as attorney for the La Crosse Trust Company, the executor named in the 1944 will, mailed to Otto M. Schlabach, who was then acting as attorney for Albert and John, a notice of entry of judgment and a copy thereof, with the request that he admit service on the original and return it.  Upon Mr. Schlabach's failure to return the document as requested, Mr. Crosby again called Mr. Schlabach asking him either to admit service and return the paper or return it without admitting service.  Mr. Schlabach thereafter went to Mr. Crosby's office and, following a conversation with him, admitted service of the paper nunc pro tunc as of August 28, 1946, the day he received it through the mail. There is uncertainty as to the time when he went to Mr. Crosby's office, there being some evidence that it was on August 31st and other evidence that it was from ten days to two weeks after August 28th.  Thereafter an appeal was taken, and a bill of exceptions was prepared by Mr. Schlabach and submitted to Mr. Crosby on or about December 6th.  Mr. Crosby did not then admit service, but informed Mr. Schlabach that the time for serving the proposed bill had expired. There was some further negotiation and on January 6, 1947, *Page 252 
Mr. Crosby definitely advised Mr. Schlabach that he would not agree to a settlement of the bill of exceptions in view of the fact that it had not been served within a ninety-day period from August 28th, the date as of which the service had been admitted on the notice of entry of judgment.  On January 14, 1947, Mr. Schlabach moved for an extension of time for settlement of the bill of exceptions and on March 15, 1947, the court entered an order extending the time for service of the bill to the time it was served on or about December 6th.  The executor Trust Company appeals from that order.
In December, 1946, the firm of Lees  Bunge was substituted as attorneys for John Callahan, and in February, 1947, they moved to reopen proceedings in the estate to permit the introduction of evidence in support of the probate of the will of January 29, 1945, which had been denied probate by the order of July 24, 1945.  An order was entered denying the motion.  John Callahan appeals from the order.
Case No. 18:
The appeal of the Trust Company from the order extending the time for filing the bill of exceptions is without merit.  We need not consider whether the trial court properly extended the time upon the ground that good cause was shown as required by sec. 269.45, Stats.  The service of notice of entry of judgment upon Mr. Schlabach, as attorney for the objectors, was made by mailing him the original and a copy of the notice with a request that he admit service.  Some days later he admitted "due service" of the paper.  Sec. 269.34 (4) provides for service by mail "where the person making the service and the person on whom it is made reside in different places between which there is a communication by mail." Such was true in this case.  There is no requirement that such places of residence be in different municipal subdivisions. Mr. Schlabach did not admit personal service.  The case in this respect differs from Banking Comm. v. Flanagan (1940),233 Wis. 405, 289 N.W. 647, where there was such an admission of a service by mail.  There is no inference of personal *Page 254 
service arising out of the admission of "due service," and Mr. Schlabach is not precluded from establishing the type of service admitted by him.  The service was in fact made by mail and under such circumstances the time for serving the proposed bill of exceptions was extended from ninety days to one hundred eighty days under the provisions of sec. 269.36.  The bill was proposed and settled within the one-hundred-eighty-day period.
The appeal of Albert and John from the judgment admitting the 1944 will to probate raises the question whether the trial court properly applied the doctrine of "dependent relative revocation."
That rule is ordinarily applied in cases where a testator, having executed one will, thereafter revokes it by the execution of a later will which for some reason fails to become effectual. In such cases revocation of the earlier instrument "is treated as relative and dependent upon the efficacy of the later disposition, which was intended to be substituted."  Will ofLundquist (1933), 211 Wis. 541, 543, 248 N.W. 410.  The revocation of the earlier document is held to be dependent upon the validity of the later one and, the later one being invalid, the earlier one stands.  See also Will of Marvin
(1920), 172 Wis. 457, 179 N.W. 508; Estate of Rauchfuss
(1939), 232 Wis. 266, 287 N.W. 173.  The rule has been criticized by some courts and some text writers, but it is the law in this jurisdiction.
The situation presented here differs somewhat from the usual case in which the doctrine is applied.  Here we have a revocation of a later will with an announced intention of reinstating a former one.  But the rule was applied to such a situation in Powell v. Powell (1866), L.R. 1 Prob. 209.  The reasoning upon which it is based applies to the same extent that it does in the typical case.  Adherence to the rule requires that we apply it here. *Page 255 
It is argued that there is a distinction between this case and other cases in which the rule has been applied.  It is said that here the testatrix was advised the destruction of the 1944 will did not reinstate the 1940 will, that she had an adequate opportunity thereafter to prepare a new will if she had desired to do so, and that her failure to prepare a will indicated that her destruction of the 1944 will was not conditioned but was accompanied by an intention to revoke the document absolutely. There is considerable force in the argument.  The doctrine of dependent relative revocation is based upon the testator's inferred intention.  It is held that as a matter of law the destruction of the later document is intended to be conditional where it is accompanied by the expressed intent of reinstating a former will and where there is no explanatory evidence.  Of course if there is evidence that the testator intended the destruction to be absolute, there is no room for the application of the doctrine dependent revocation.  Failure to prepare a new will may or may not be significant.  The inferences to be derived from such a failure will vary according to the circumstances. If it were due to lack of opportunity, it would be difficult to attribute any great significance to it.  The inferences, as in other factual questions, are to be drawn by the trier of fact.
Here the trial court evidently did not consider the delay in preparing a new will sufficient to establish that the 1944 will was destroyed with the intent to revoke it absolutely.  It was justified in arriving at that conclusion.
Three days after Mr. Hale's advice to Mrs. Callahan, her husband died and she was stricken sixteen days after his death with an illness which rendered her incompetent thereafter. Both she and her husband were advanced in years.  She was eighty-seven and he was eighty-four.  They had lived together for many years.  Her grief at his death, the necessity for arrangements that were then required, and the loss that she must have felt, constitute adequate explanation of her failure to *Page 256 
discuss the matter of a new will in the short time before she became ill.
There is a further argument to the effect that Mr. Hale's testimony as to the testatrix's intention in destroying her 1944 will is incompetent and of no probative force.
The testimony is claimed to be incompetent under the provisions of sec. 325.22, Stats., which reads:
"An attorney or counselor at law shall not be allowed to disclose a communication made by his client to him, or his advice given thereon in the course of his professional employment. This prohibition may be waived by the client, and does not include communications which the attorney needs to divulge for his own protection, or the protection of those with whom he deals, or which were made to him for the express purpose of being communicated to another, or being made public."
Although it was received without objection, it is nevertheless incompetent if it relates to a communication embraced within the statute.  Beilfuss v. Dinnauer (1921), 174 Wis. 507,183 N.W. 700.  In our opinion the communication was not within the statute.  It consisted of Dr. Callahan's statement to Mr. Hale on the occasion of a social visit.  It was not made in the course of Mr. Hale's professional employment for the purpose of requesting his professional advice.
So far as the matter of probative force is concerned, it strikes us that the circumstances are persuasive as to the testatrix's intention.  We must bear in mind that prior to the doctor's statement to Mr. Hale he and his wife had each executed five wills and these wills carried the clearest indication that they were the result of collaboration and execution of a common design.  The fact that they acted in concert in preparing these wills carries an inference that they collaborated in destroying their 1944 wills.  Dr. Callahan's statement to Mr. Hale in the presence of Mrs. Callahan that they had acted together must be considered as the statement of one who without doubt had consulted with her in the matter. *Page 257 
The appeal of John Callahan from the order refusing to reopen proceedings to permit proof of the January 29th will, is also without merit.  An order denying probate of that will was entered July 24, 1945.  Thereafter the matter was permitted to lie dormant until after the court had admitted the 1944 will to probate and an appeal had been taken from its decision.  The application to reopen proceedings was made in February of 1947, more than one and one-half years after the January 29th will had been denied probate.  There was no appeal from the order of denial; it could not have been set aside under the provisions of sec. 269.46, Stats.; and there is no equitable ground, such as fraud upon the court, which would justify setting it aside.  It would have been useless to reopen the proceedings, and the court properly refused to do so.
By the Court. — No. 18, Judgment affirmed.  No. 28, Order affirmed.  No. 40, Order affirmed.